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  8                           UNITED STATES DISTRICT COURT
  9                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
  10
       PFIZER INC.,
  11                                                     Case No. 3:21-cv-01980-CAB-JLB
                                            Plaintiff,
  12                                                     ORDER EXTENDING CASE
                      - against -
  13                                                     DEADLINES [DOC. NO. 13]
       CHUN XIAO LI and DOES 1-5,
  14
                                         Defendants.
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  16            Presently before the Court is the parties’ Stipulation Extending Case
  17   Deadlines (the “Stipulation”) (Dkt. 10), by which Plaintiff Pfizer Inc. (“Pfizer”)
  18   and Defendant Chun Xiao Li (“Li”) seek approval of the following stipulated
  19   terms:
  20            1.    The parties’ briefing deadlines on December 2 and 6, 2021 are
  21   extended to December 9 and 13, 2021, respectively, and the December 9, 2021
  22   preliminary-injunction hearing is adjourned to a date after December 13, 2021 that
  23   is convenient for the Court.
  24            2.    Li agrees to abide by the Temporary Restraints imposed by the
  25   Court’s Order until the date of the to-be-rescheduled preliminary-injunction
  26   hearing.
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                                                          ORDER EXTENDING CASE DEADLINES
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  1             3.    The parties agree and stipulate that all dates, scheduling, timing, and
  2    terms established by this Stipulation shall be without prejudice to any party’s
  3    claims or defenses and that the parties reserve their respective rights.
  4             4.    The terms of this Stipulation shall remain in effect from the date of its
  5    issuance until the Stipulation is amended or superseded by a further order of this
  6    Court.
  7                                         *      *      *
  8             Having reviewed the materials submitted, the Court GRANTS the parties’
  9    Stipulation according to the stipulated terms above. The December 9, 2021
  10   preliminary-injunction hearing is ADJOURNED to December 20, 2021 at 10:00
  11   a.m.
  12            IT IS SO ORDERED.
  13   Dated: December 2, 2021
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                                                        ORDER EXTENDING CASE DEADLINES
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